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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


  UNITED STATES OF AMERICA                   )
                                             )
        v.                                   )         1:12-cr-00083-JAW-5
                                             )
  JAMES PROUDFOOT,                           )
  a/k/a “REGGIE”                             )


                 ORDER ON MOTION TO REDUCE SENTENCE

       Based on the retroactive drug calculation guideline which took effect

 November 1, 2014, James “Reggie” Proudfoot moved on April 20, 2015 for a reduction

 in his sentence. Mot. for Modification of an Imposed Term of Imprisonment Pursuant

 to 18 U.S.C. § 3582(c)(2), Amendment 782 (ECF No. 1100). See U.S. Sentencing

 Guidelines Manual § 1B1.10(d) (2014). At his February 4, 2014 sentencing hearing,

 the Court sentenced Mr. Proudfoot to 63 months incarceration. J. (ECF No. 988).

       Mr. Proudfoot’s guideline sentence was calculated as follows: (1) he was held

 responsible for 400 grams of cocaine and 6.66 grams of oxycodone, which were

 converted to 124.62 kilograms of marijuana equivalent, for a base offense level of 26,

 (2) he obstructed justice by failing to appear as ordered for a judicial proceeding and

 received a two-level increase to 28, (3) his criminal history category was III, and (4)

 his applicable guideline range for imprisonment was 97 to 121 months. Statement of

 Reasons Attach. 1 Findings Affecting Sentence at 1 (ECF No. 989). The Court imposed

 a variant sentence of 63 months. J.
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       Under the newly amended drug calculations, Mr. Proudfoot’s base offense level

 would be reduced to 24 and his total offense level would be 26. With a criminal history

 category of III, the revised guideline range would be 78 to 97 months.

       Because the sentence the Court imposed is below the low end of the revised

 guideline range, Mr. Proudfoot is not eligible for any further reduction. See U.S.

 Sentencing Guidelines Manual § 1B1.10(b)(2)(A) (“the court shall not reduce the

 defendant’s term of imprisonment . . . to a term that is less than the minimum of the

 amended guideline range”).

       The Court DENIES James “Reggie” Proudfoot’s Motion for Modification of an

 Imposed Term of Imprisonment Pursuant to 18 U.S.C. § 3582(c)(2), Amendment 782

 (ECF No. 1100).

       SO ORDERED.


                                         /s/ John A. Woodcock, Jr.
                                         JOHN A. WOODCOCK, JR.
                                         UNITED STATES DISTRICT JUDGE

 Dated this 28th day of April, 2015




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